           Case 3:21-cv-00793-VAB Document 48 Filed 09/20/21 Page 1 of 7




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


RYAN MERHOLZ and MELVYN KLEIN,                  Case No.: 3:20-cv-00557-VAB
Derivatively on Behalf of WORLD WRESTLING
ENTERTAINMENT, INC.,                            Date: September 20, 2021

                           Plaintiffs,

      v.

VINCENT K. MCMAHON, STEPHANIE
MCMAHON, PAUL LEVESQUE, FRANK A.
RIDDICK, III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, GEORGE A. BARRIOS, and
MICHELLE D. WILSON,

                           Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Nominal Defendant.


DANIEL KOOI, Derivatively on Behalf of          Case No.: 3:20-cv-00743-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Plaintiff,

      v.

VINCENT K. MCMAHON, FRANK A.
RIDDICK, III, JEFFREY R. SPEED, PATRICIA A.
GOTTESMAN, STUART U. GOLDFARB,
LAUREEN ONG, PAUL LEVESQUE, ROBYN W.
PETERSON, STEPHANIE MCMAHON, MAN JIT
SINGH, ALAN M. WEXLER, GEORGE A.

[Caption Continued on Next Page]
           Case 3:21-cv-00793-VAB Document 48 Filed 09/20/21 Page 2 of 7




BARRIOS, and MICHELLE D. WILSON,

                           Defendants,
      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Nominal Defendant.


RODNEY NORDSTROM, Derivatively on Behalf of     Case No. 3:20-cv-00904-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Plaintiff,

      v.

VINCENT K. MCMAHON, GEORGE A.
BARRIOS, MICHELLE D. WILSON,
STEPHANIE MCMAHON, PAUL LEVESQUE,
FRANK A. RIDDICK III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, and PATRICIA A. GOTTESMAN,

                           Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Nominal Defendant.


[Caption Continued on Next Page]
           Case 3:21-cv-00793-VAB Document 48 Filed 09/20/21 Page 3 of 7




RYAN B. MERHOLZ and NICHOLAS JIMENEZ,             Case No. 3:21-cv-00789-VAB
Derivatively On behalf Of WORLD WRESTLING
ENTERTAINMENT, INC.,

                             Plaintiffs,

                        v.

VINCENT K. MCMAHON, STEPHANIE
MCMAHON, PAUL LEVESQUE, FRANK A.
RIDDICK, III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, GEORGE A. BARRIOS, and MICHELLE
D. WILSON,

                             Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT, INC.,

                             Nominal Defendant.


JESSE REZENDES, Derivatively on Behalf of         Case No. 3:21-cv-00793-VAB
WORLD WRESTLING ENTERTAINMENT, INC.,

                             Plaintiff,

      v.

VINCENT K. MCMAHON, GEORGE A. BARRIOS,
and MICHELLE D. WILSON,

                             Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT, INC.,

                              Nominal Defendant


[Caption Continued on Next Page]
           Case 3:21-cv-00793-VAB Document 48 Filed 09/20/21 Page 4 of 7




CITY OF PONTIAC POLICE AND FIRE                 Case No. 3:21-cv-00930-VAB
RETIREMENT SYSTEM, derivatively on behalf of
WORLD WRESTLING ENTERTAINMENT, INC.,

                          Plaintiff,

      v.

VINCENT K. MCMAHON, GEORGE A. BARRIOS,
and MICHELLE D. WILSON,

                          Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT, INC.,

                          Nominal Defendant.


 DECLARATION OF WILLIAM H. NARWOLD IN SUPPORT OF SHAREHOLDERS'
   UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
            Case 3:21-cv-00793-VAB Document 48 Filed 09/20/21 Page 5 of 7




       I, William H. Narwold, declare as follows:

       1.       I am an attorney duly licensed to practice before the courts of the State of

Connecticut. I am a member of the law firm Motley Rice LLC, and my firm represents proposed

intervenor Dennis Palkon in the above-captioned stockholder derivative actions. I have personal

knowledge of the matters stated herein and, if called upon, I could and would testify competently

thereto. I submit this Declaration in support of Shareholders' Unopposed Motion for Preliminary

Approval of Settlement.

       2.       Attached hereto are true and correct copies of the following exhibits:

                Exhibit A:   Stipulation and Agreement of Settlement, executed September 17,
                             2021;

                Exhibit B:   Firm Resume of Motley Rice LLC;

                Exhibit C:   Firm Resume of Robbins LLP;

                Exhibit D:   Firm Resume of Bernstein Litowitz Berger & Grossmann LLP;

                Exhibit E:   In re Rambus Inc. Derivative Litig., No. 5:06-cv-03513-JF, Order
                             Preliminarily Approving Settlement (N.D. Cal. Oct. 30, 2008);

                Exhibit F:   In re: MoneyGram Int'l, Inc. Derivative Litig., No. 0:09-cv-03208
                             DSD-JJG, Order Preliminarily Approving Settlement, Approving
                             Notice and Scheduling Settlement Hearing (D. Minn. Apr. 1, 2010);

                Exhibit G:   In re Comverse Tech., Inc. Derivative Litig., No. 2:06-cv-01849-
                             NGG-RER, Preliminarily Approval and Scheduling Order (E.D.N.Y.
                             Apr. 6, 2010);

                Exhibit H:   In re Marvell Tech. Grp. Ltd. Derivative Litig., No. 5:06-cv-03894-
                             RMW, Order Preliminarily Approving Derivative Settlement And
                             Providing for Notice (N.D. Cal. May 21, 2009); and

                Exhibit I:   Wandel, et al. v. Brenneman, et al., No. 2006 Civ. 117491, Order
                             Preliminarily Approving Settlement, Approving Notice of
                             Settlement, And Setting Schedule (Ga. Super. Ct.-Fulton Cty. Apr. 3,
                             2008).




                                                -1-
            Case 3:21-cv-00793-VAB Document 48 Filed 09/20/21 Page 6 of 7




          I declare under penalty of perjury that the foregoing representations are true and correct.

Executed this 20th day of September, 2021, at Hartford, Connecticut.


                                                               /s/ William H. Narwold
                                                              WILLIAM H. NARWOLD




1543588




                                                 -2-
         Case 3:21-cv-00793-VAB Document 48 Filed 09/20/21 Page 7 of 7




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2021, a copy of foregoing Declaration of William

H. Narwold in Support of Shareholders' Unopposed Motion for Preliminary Approval of

Settlement was filed electronically and served by mail on anyone unable to accept electronic

filing. Notice of this filing will be sent by e-mail to all parties by operation of the Court's

electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court's CM/ECF System.


                                                   MOTLEY RICE LLC

                                                   /s/ William H. Narwold
                                                   William H. Narwold (CT 00133)
                                                   One Corporate Center
                                                   Hartford, CT 06103
                                                   Telephone: (860) 882-1681
                                                   Facsimile: (860) 882-1682
                                                   E-mail: bnarwold@motleyrice.com




                                               -3-
